










COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS





HORSESHOE ENTERPRISES, INC.,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.


ROBERT JOHNSTON,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee.

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No. 08-10-000046-CV

Appeal from the

County Court at Law No. 6

of El Paso County, Texas 

(TC# 2007-1403)





MEMORANDUM  OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This appeal is before the Court on our own motion for determination whether it should be
dismissed for want of prosecution pursuant to Tex.R.App.P. 38.8.  Having determined that
Appellant has failed to file a brief and has not requested an extension of time to do so, we will
dismiss the appeal.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This Court possesses the authority to dismiss an appeal for want of prosecution when the
appellant fails to file a brief within the time proscribed and provides no reasonable explanation
for such failure.  See Tex.R.App.P. 38.8(a)(1).  By letter dated April 7, 2010, the clerk of this
Court notified Appellant of the Court’s intent to dismiss this appeal for want of prosecution due
to Appellant’s failure to file a brief or request an extension of time to do so.  The clerk advised
Appellant that the appeal would be dismissed without further notice unless the Court received a
response within ten days and provided a reason why the appeal should be continued.  See
Tex.R.App.P. 38.8.  Appellant has not responded to the clerk’s notice.  We see no purpose that
would be served by maintaining this appeal at this stage of the proceedings.  Therefore, pursuant
to Tex.R.App.P. 38.8(a)(1), we dismiss the appeal for want of prosecution.



May 19, 2010
DAVID WELLINGTON CHEW, Chief Justice

Before Chew, C.J., McClure, and Rivera, JJ.


